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                                                                 November 10, 2022

          Via CEF
          United States Magistrate Judge
          Frank R. Lautenberg U.S. Post Office & Courthouse Building
          2 Federal Square
          Newark, NJ 07102

          Re:        John Doe v. Baila Sebrow
                     United States District Court, District of New Jersey
                     Case No.: 2:21-cv-20706


          Dear Magistrate Kiel,

                  We represent the plaintiff in the above-referenced matter. I apologize for the tardiness of
          this submission, but our office has still not received consent from the defendant to submit a
          proposed joint order. So that the court has an order for today’s conference, I am uploading a
          copy of Plaintiff’s proposed order that was sent to the defendant’s counsel on November 7, 2022.
          To date, the defendant’s counsel has not provided us with any feedback on the contents of the
          order.

                     Thank you in advance.


                                                                 Very Truly Yours,

                                                                 DANIEL SZALKIEWICZ & ASSOCIATES, P.C.



                                                                 By: Daniel S. Szalkiewicz, Esq.
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